            Case 2:20-cv-05606-BMS Document 1 Filed 11/03/20 Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 CHERYL HUTCHINSON,                                 :
                                                    :
                 Plaintiff,                         :
                                                    :
         v.                                         : CASE NO.      2:20-cv-1675
                                                    :
 LVNV FUNDING, LLC,                                 :
                                                    :
                 Defendant.                         :
                                                    :
                                                    :


                                     NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that on this date, Defendant LVNV Funding, LLC hereby

removes the above-captioned matter to this Court from the Court of Common Pleas of Allegheny

County, Pennsylvania and in support thereof avers as follows:

       1.      LVNV Funding, LLC is a defendant in a civil action originally filed on July 13,

2020 in the Court of Common Pleas of Allegheny County, Pennsylvania titled Cheryl Hutchinson

v. LVNV Funding, LLC and docketed to Case No. GD-20-007557.

       2.      The removal is timely under 28 U.S.C. § 1446(b). Plaintiff’s Complaint was filed

on October 5, 2020. LVNV filed preliminary objections on November 2, 2020 and thus waived

service of the complaint.

       3.      Pursuant to 28 U.S.C. § 1446, copies of all process, pleadings and orders filed in

the state court action are attached as exhibits to this Notice.




                                                   1
            Case 2:20-cv-05606-BMS Document 1 Filed 11/03/20 Page 2 of 3




       4.      The District Court 1 has original jurisdiction over this action pursuant to 28 U.S.C.

§ 1331, in that Plaintiff has filed claims against LVNV alleging violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq.

       5.      On this date, LVNV has provided notice of this Removal to counsel for Plaintiff

and to the Court of Common Pleas of Allegheny County, Pennsylvania.

       WHEREFORE, Defendant LVNV Funding, LLC respectfully removes this case to the

United States District Court for the Western District of Pennsylvania.

                                      Respectfully submitted,

                                      MESSER STRICKLER, LTD.

                              By:     /s/ Lauren M. Burnette
                                      LAUREN M. BURNETTE, ESQUIRE
                                      PA Bar No. 92412
                                      12276 San Jose Blvd.
                                      Suite 718
                                      Jacksonville, FL 32223
                                      (904) 527-1172
                                      (904) 683-7353 (fax)
                                      lburnette@messerstrickler.com
                                      Counsel for Defendant

Dated: November 3, 2020




1
 Plaintiff commenced this claim in Allegheny County, Pennsylvania notwithstanding the fact that
her alleged causes of action arose in Lancaster County, Pennsylvania which lies within jurisdiction
of the U.S. District Court for the Eastern District of Pennsylvania. See Plaintiff’s Complaint, ¶ 1.
LVNV has filed Preliminary Objections as to venue.
                                                 2
          Case 2:20-cv-05606-BMS Document 1 Filed 11/03/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I certify that on November 3, 2020, a true copy of the foregoing document was served

as follows:

 Via Email & U.S. Mail, Postage Prepaid           Via Electronic Filing
 Joshua P. Ward                                   Court of Common Pleas
 Kyle Steenland                                   Allegheny County
 The Law Firm of Fenters Ward                     414 Grant St.
 The Rubicon Building                             Pittsburgh, PA 15219
 201 South Highland Avenue
 Suite 201
 Pittsburgh, PA 15206
 JWard@FentersWard.com
 KSteenland@FentersWard.com
 Counsel for Plaintiff




                                    MESSER STRICKLER, LTD.

                            By:     /s/ Lauren M. Burnette
                                    LAUREN M. BURNETTE, ESQUIRE
                                    PA Bar No. 92412
                                    12276 San Jose Blvd.
                                    Suite 718
                                    Jacksonville, FL 32223
                                    (904) 527-1172
                                    (904) 683-7353 (fax)
                                    lburnette@messerstrickler.com
                                    Counsel for Defendant

Dated: November 3, 2020




                                              3
